Case 1:14-ml-02570-RLY-TAB Document 19827 Filed 09/02/21 Page 1 of 1 PageID #:
                                 123234



                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

  IN RE: COOK MEDICAL, INC, IVC FILTERS
  MARKETING, SALES PRACTICES AND                              Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                                        MDL No. 2570


  This Document Relates to Plaintiff(s)
  Anthony Stone

  Civil Case # 1:20-cv-02474-RLY-TAB



                 ORDER GRANTING UNOPPOSED MOTION
     FOR LEAVE TO FILE AMENDED COMPLAINT AND SUBSTITUTE PARTIES


         Now before the Court is Plaintiff’s Unopposed Motion for Leave to Amend Complaint

  and Substitute Parties (Filing No. 19808). Having considered the arguments, and for good cause

  shown, the Court GRANTS this Motion.

         IT IS THEREFORE ORDERED the First Amended Short Form Complaint attached to this

  Order is hereby deemed filed, and the Clerk of the Court is directed to file the Amended Short

  Form Complaint into the record in this matter.

            IT IS SO ORDERED.

            Date: 9/2/2021
                                                _______________________________
                                                   Tim A. Baker
                                                   United States Magistrate Judge
                                                   Southern District of Indiana




 Distribution to all registered counsel of record via ECF.
